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      UNITED STATES FEDERAL DISTRICT COURT FOR THE DISTRICT OF
                             COLUMBIA
                           CIVIL DIVISION

MARGARET FOWLER                              :

               Plaintiff,                    :

                                                    Case No.:

       v.                                    :      Judge

THE GOVERNMENT OF THE                        :
DISTRICT OF COLUMBIA                         :

AND                                          :

THE ALCHOLIC BEVERAGE                        :
REGULATION ADMINSTRATION                     :

              Defendants.                    :



                                         COMPLAINT

Plaintiff Margaret Fowler (“Ms. Fowler” or “Plaintiff”), by and through her undersigned counsel,
Charles Tucker Jr., Esquire, through the TUCKER MOORE GROUP LLP, seeks damages
relating to disparate treatment in a hostile work environment and age discrimination against the
Defendants, the Government of the District of Columbia (“Defendant”) and the Alcoholic
Beverage Regulation Administration (“ABRA” or “Defendant ABRA”). Plaintiff alleges as
follows:


                                I. NATURE OF THE ACTION

1.     This lawsuit concerns the Defendants disparate treatment that subjected a 63-year-old
       woman, who has been employed by the Defendant for over 30 years, to age
       discrimination and a hostile work environment.


                                         II. PARTIES

2.     Plaintiff is a resident of the District of Columbia and a citizen of the United States. Upon
       information and belief, and most of the time relevant to this Complaint, Plaintiff was
       employed by the Alcoholic Beverage Regulation Administration (ABRA).
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3.    Defendant District of Columbia is the Seat of the Government of the United States and a
      municipal corporation organized under the Constitution and laws of the United States.

4.    Defendant Alcoholic Beverage Regulation Administration is a government agency that
      issues and maintains all licenses associated with the sale or service of wine, beer, and
      liquor within the District of Columbia. Defendant ABRA was the Plaintiff’s employer
      during the time relevant to this action.


                                   III. JURISDICTION

5.    This action arises under the United States Constitution and the laws of the District of
      Columbia. This claim may be brought to the United States Federal District Court for the
      District of Columbia Civil Division, pursuant to 28 U.S.C. §1331.


                                        IV. VENUE

6.    Venue lies in the Federal District Court Civil Division, because the events, acts, and
      omissions giving rise to the Plaintiff’s claims occurred within the District of Columbia.
      Venue is proper under 28 U.S.C. §1391. At all relevant times to the actions complained
      of herein, the Defendant ABRA conducted business within the District of Columbia.  


                             V. GENERAL ALLEGATIONS

7.    Plaintiff is a 63-year-old, adult female who resides at 1013 Wahler Place, S.E.,
      Washington, DC 20032.

8.    Plaintiff has been employed with Defendant ABRA since August 17, 1987. Plaintiff
      holds the title of “Licensing Specialist” since March 1994, and she is a Grade 11
      employee at ABRA.

9.    On or about November 2016, Mr. Sean Gordy (“Mr. Gordy”), Licensing Program
      Manager at ABRA, and Supervisor to the Plaintiff, removed all of Plaintiff’s files from
      her desk without giving her an explanation. This was not the first time Mr. Gordy has
      acted in this manner.

10.   Mr. Gordy also requested that Ms. Kathy Kelly (“Ms. Kelly”), Plaintiff’s Grade 11
      counterpart and the Records Management Specialist, oversaw Plaintiff’s files for no
      legitimate reason.

11.   On November 3, 2016, the Department of Human Resources (“DCHR”) received a
      request from ABRA for support on a special investigation involving Plaintiff, based on
      allegations of employee misconduct and insubordination, including but not limited to,
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      making threats, behaving in an unstable manner, and exhibiting caustic behavior towards
      Mr. Gordy.

12.   Between November 21, 2016 and December 16, 2016, the Audit and Special
      Investigations (ASI) team met with several witnesses, including various members of the
      ABRA Licensing Division and ABRA management to discuss the grievance allegations.

13.   On January 13, 2017, after a comprehensive investigation, ASI closed the case.

14.   DCHR moved forward on a complaint sent to them by ABRA Director Fred Moosally
      (“Mr. Moosally”); however, Mr. Moosally failed to advise all parties investigating the
      complaint that Plaintiff filed a verbal complaint with him the very same day Mr. Gordy
      filed a complaint. Instead of Mr. Moosally alerting DCHR of this important fact, he only
      submitted Mr. Gordy’s complaint.

15.   On or about June 30, 2017, Plaintiff was placed on a Performance Improvement Plan
      (“PIP”) for about 90-days for failure to meet the minimum requirements for her position.

16.   Prior to being notified about her PIP, Plaintiff was never informed that her work ethic
      was below satisfactory. In fact, Plaintiff received a “3” on her performance rating during
      the periods of October 1, 2015 – September 30, 2016, which equated to a “Valued
      Performer.”

17.   In November 2017, Plaintiff was given the standard operating procedures for the
      previously mentioned period at issue. The procedures simply included how to address a
      file folder and process incoming work. There was no information provided that related to
      the minimum requirements that the Plaintiff allegedly failed to meet for her position.

18.   The American Federation of State, County and Municipal Employees, AFL-CIO, Local
      2743 believes that DCHR failed to properly investigate this matter and placed Plaintiff on
      a PIP inconsistent with the personnel regulations.

19.   On September 1, 2017, the Union requested that all negative documents placed in
      Plaintiff’s personnel folder are removed, and any leave used by Plaintiff in connection
      with this matter be restored.

20.   Plaintiff filed an Equal Employment Opportunity Claim (“EEOC”) on December 6, 2017.
      The EEOC dismissed the claim on December 8, 2017, and Plaintiff received her right to
      sue letter on December 19, 2017.

                                  VI. FIRST CLAIM OF RELIEF
               (Title VII of the Civil Rights Act of 1964 - Hostile Work Environment)

21.   The above paragraphs 1 – 20 are incorporated as if fully set forth herein.
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22.   Sometime in July 2016, Mr. Gordy had Ms. Kelly remove several files from Plaintiff’s
      desk area. Upon information and belief there were 10 boxes of files that were removed,
      and Plaintiff received no advance notice of the removal.

23.   As of this grievance, the files have not been returned. Plaintiff did not have the
      opportunity to properly document each file rendering her unable to know exactly which
      client files she had and how much work needed to be done to complete the file and
      populate the information in the computer.

24.   On or about November 2016, Plaintiff received a customer inquiry. When Plaintiff
      attempted to locate the customer’s file on her desk, the file was no where to be found.
      Plaintiff asked Mr. Gordy for the file in question and he informed that he would provide
      her with the file.

25.   Plaintiff values the timely process of her work and her client’s success, which forced
      Plaintiff to search for Mr. Gordy to retrieve the file he failed to provide in a timely
      manner. Mr. Gordy was not in his office, thus, Plaintiff requested Ms. Kelly to retrieve
      the file for her. However, Ms. Kelly refused to provide Plaintiff with the file. Shortly
      thereafter, Mr. Gordy entered the office and instructed Ms. Kelly to grab the file and she
      did so without hesitation.

26.   As Plaintiff waited for Ms. Kelly to bring her the file, Mr. Gordy approached Plaintiff
      and began to yell that Plaintiff “is to go through him retrieve her files.”

27.   Pursuant to Title VII of the Civil Rights Act of 1964, Plaintiff was subjected to
      unwelcomed verbal conduct by Mr. Gordy, which caused a hostile work environment.

28.   Plaintiff asked Mr. Gordy, “why are you treating me like this, it doesn’t make sense”?
      Mr. Gordy leaned over and continued yelling at Plaintiff to the point where she felt
      threatened.
      Mr. Gordy is extremely tall with an athletic build; he towered over Ms. Fowler. Mr.
      Gordy’s unwelcomed physical conduct prevented Plaintiff from leaving her desk area.

29.   Plaintiff informed Mr. Gordy that he was humiliating her and asked him to stop, to no
      avail. Mr. Gordy persisted with yelling.

30.   Plaintiff removed herself from the situation and headed towards Director Fred Moosally’s
      office. Mr. Gordy abruptly followed Plaintiff and physically shoved her, warranting
      unwelcomed physical conduct, pursuant to Title VII of the Civil Rights Act of 1964.

31.   Plaintiff perceived the working environment to be abusive and complained to Mr.
      Moosally about the actions of Mr. Gordy. Plaintiff’s complaint fell on an unresponsive
      ear as Mr. Moosally failed to do anything about her complaint.
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32.   Mr. Gordy still displays demeaning behavior towards Plaintiff to this day. A reasonable
      person in the Plaintiff’s circumstance would consider the behavior to be abusive and find
      that Mr. Gordy creates a hostile work environment.

33.   Mr. Gordy also created a hostile work environment between Plaintiff and Ms. Kelly by
      instructing Ms. Kelly to oversee Plaintiff’s files without informing Plaintiff why this was
      necessary. Plaintiff experienced emotions of inadequacy and humiliation, which did not
      foster a healthy work environment.

34.   The additional step of review by Ms. Kelly delayed their clients’ opportunity to obtain an
      Alcohol License in a timely manner. Plaintiff was not compensated for the extended
      hours she worked to attempt to maintain her work pace before the additional step of
      review was implemented.


                          VII. SECOND CLAIM OF RELIEF
              (Age Discrimination - 29 U.S.C. § 621(b) and 29 U.S.C. § 623(a))

35.   Plaintiff incorporates all preceding paragraphs of this Complaint for the purposes of this
      claim.

36.   Pursuant to 29 U.S.C. § 623(a), the Defendant exercised age discrimination against the
      Plaintiff on numerous occasions.

37.   As the oldest Grade 11 employee, with the most experience and training, Plaintiff has
      been overlooked for advancement opportunities to higher levels.

38.   On at least two occasions, Plaintiff applied and made the selection certificate for the jobs
      listed. However, she was never considered for either position. It is worth noting that
      Plaintiff has maintained her role as Licensing Specialist for over 23 years and her
      employment with the company for over 30 years. In absence of a substantive reason why
      Plaintiff was not afforded these jobs, a reasonable person can conclude that age
      discrimination is a viable explanation for this matter.

39.   The Defendant’s failure to consider the Plaintiff for two positions, despite her extensive
      experience, directly contradicts with 29 U.S.C. § 621(b)’s purpose of promoting persons
      based on their ability rather than age.

40.   Promotions were granted to younger term employees who are not in the same protected
      class as the Plaintiff, with only one or two-years work experience at ABRA. Furthermore,
      some of these younger term employees received an integral part of their training from the
      Plaintiff. As a result, some of these younger term employees have reached the same level
      as the Plaintiff.
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41.    Defendant also negatively affected Plaintiff’s status as a Licensing Specialist when Mr.
       Gordy delegated Ms. Kelly, a comparably ranked Grade 11 employee, to supervise the
       Plaintiff’s files.

42.    Mr. Moosally also exhibited discriminatory behavior when he failed to advise all parties
       investigating Mr. Gordy’s complaint that Plaintiff filed a verbal complaint with him the
       very same day Mr. Gordy did.

43.    A week after the incident, Plaintiff asked Mr. Moosally about the status of her complaint
       and he instructed Plaintiff to speak with Ms. Martha Jenkins, ABRA General Counsel. As
       if failing to submit the Plaintiff’s complaint was not enough, Mr. Moosally consciously
       directed Plaintiff to a hopeless source.

44.    Ms. Martha Jenkins informed Plaintiff that she would be retrieving “numbers” for her
       Complaint, which never materialized. Plaintiff was never informed by Mr. Moosally that
       he failed to submit her complaint.

45.    Mr. Gordy and Mr. Moosally, two men who serve in leadership capacities at ABRA, have
       targeted the Plaintiff, an employee who has been with the company for 30 years, with
       their discriminatory actions.

46.    On or around July 18, 2017, Mr. Gordy denied Plaintiff’s bereavement to attend ex-
       husband’s funeral and sort out legal issues related. Plaintiff was granted bereavement to
       attend her ex-husband’s mother’s funeral at a younger age without conflict.


                                       PRAYER FOR RELIEF

WHEREFORE, based on the allegations and Causes of Action set forth above, which are fully
incorporated herein, Plaintiff respectfully requests that this Court enter a judgment against the
Defendant and grant the following:

       a) Declaratory relief, including but not limited to, a declaration that Defendants have
          engaged in age discrimination pursuant to 29 U.S.C. § 621(b) and 29 U.S.C. § 623(a),

       b) Declaration that Defendants have violated the Title VII of the Civil Rights Act of
          1964;

       c) Compensatory and punitive damages to the Plaintiff for all the mentioned causes of
          action in an amount to be determined by a jury of her peers:

       d) Plaintiff attorney’s fees;

       e) The cost and expenses of litigation;
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       f) An amount exceeding the jurisdictional requirements of this Court, all together with
          Court costs, including pre-and post-judgment interest; and

       g) Any other relief which this Court deems just and proper.

The Plaintiff further reserves the right and opportunity to assert additional claims and/or
affirmative defenses not included in this Complaint and to further amend and/or supplement the
information provided and further attest the facts above are true and accurate under penalty of
perjury.


                                           Margaret Fowler, PLAINTIFF

                                           By: __/s/C.Tucker___________________

                                           Charles T. Tucker Jr. Esq.

                                           Counsel for Plaintiff




__/s/___C.Tucker_______________                           ______________________

Charles Tucker Jr. Esq.                                   Date

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